                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


RHONDA BURNETT, JEROD BREIT,               )
JEREMY KEEL, HOLLEE ELLIS, and             )
FRANCES HARVEY, on behalf of themselves )
And all others similarly situate,          )
                                           )
                               Plaintiffs, )
       v.                                  )                      No. 19-CV-00332-SRB
                                           )
THE NATIONAL ASSOCIATION OF                )
REALTORS, REALOGY HOLDINGS                 )
CORP., HOMESSERVICES OF AMERICA, )
INC., BHH AFFILIATES, LLC, HSF             )
AFFILIATES, LCC, RE/MAX, LLC, and          )
KELLER WILLIAMS REALTY, INC.,              )
                                           )
                               Defendants. )



                              JUDGMENT IN A CIVIL CASE


  X Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
and the jury has rendered its verdict.

___ Decision by Court. This action came to trial or hearing before the Court. The issues
have been tried or heard and a decision has been rendered.

    Decision by Court. This action came before the Court. The issues have been determined and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED
       Pursuant to the jury’s October 31, 2023, verdict, judgment is entered in favor of class Plaintiffs in

the amount of $1,785,310,872.00 against Defendants National Association of Realtors, HomeServices of

America, Inc., BHH Affiliates, LLC, HSF Affiliates, LLC, and Keller Williams Realty, Inc.



November 1, 2023                                          Paige Wymore-Wynn
Date                                                      Clerk of Court

                                                          /s/ Shauna Murphy-Carr
                                                          (by) Deputy Clerk




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